      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 1 of 46


~; ~                ~         ~: ;                                   733 Third Avenue
                                                                     New York, New York 10017
      ■-                                                             212.867.6000
                                                                     Fax 212.551.8484
                                                                     www.rosen6ergestis.com

                                                                     Fed ID# 1 3-2861 71 4


                                                                     October 31, 2015
AMY GOULD                                                             Bill Number   215179
MILFORD MANAGEMENT                                                    File Number 55673.0424
335 MADISON AVE
SUITE 1500
NEW YORK, NY 10017




FOR PROFESSIONAL SERVICES

Through    October 31, 2015

RE:    MARINER'S COVE SITE B ASSOCIATES, ET AL /DEFEND
      DISTRICT COURT ACTION

LEGAL SERVICES RENDERED

 Date       Atty   Description                                           Time
10/O1/15    DER    EMAILS CLIENT; LTR TO TENANT; CONF IT             0.60 Hrs
10/O1/15    IDT    PREPARATION OF LETTER TO GREER RE:                1.80 Hrs
                   DISHWASHER;PREPARATION OF LETTER TO JUDGE MILIN
10/02/15    IDT    PREPARATION OF LETTER TO JUDGE MILIN              0.80 Hrs
10/OS/15    DER    EMAILS CLIENT                                     0.30 Hrs


10/OS/15    IDT    PREPARATION OF LETTER TO JUDGE MILIN              1.60 Hrs




10/15/15    DER    CONF IT; LTR TO COURT;EMAILS/TCS CLIENT           0.80 Hrs
10/15/15    ITT    PREPARATION OF LEVER TO JUDGE MILIN               0.80 Hrs
10/16/15    DER    EMAILS/LETTER TO COURT; TC CLIENT                 0.60 Hrs




                                                PAGE1
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 2 of 46



                                                                                 733 Third Avenue
                                        ~ESTI~,Pc,                               New York, New Yark 10017
ATTORNEYS AT LAW                                                                 212.867.6000
                                                                                 Fax 272.551.8484
                                                                                 www.roaenbergestis.com

RE:   MARINER'S COVE SITE B ASSOCIATES, ET AL /DEFEND DISTRICT COURT              Bill Number 215179
                                                                                 File Number 55673.0424

LEGAL SERVICES RENDERED




                                                                          TOTAL HOURS                  17.80
                                                        TOTAL LEGAL SERVICES RENDERED              $5,858.00

DISBURSEMENTS

PRINTING/DUPLICATING                                                                        1.00

OUTSIDE MESSENGER                                                                         32.40

RESEARCH -OTHER                                                                           102.80

PHOTOCOPY                                                                                   7.50

MESSENGER                                                                                 45.00

POSTAGE/SPECIAL MAIL                                                                       5.52

                                                                   TOTAL DISBURSEMENTS             $194.22

                                                                 TOTAL DUE CURRENT BILL               g.~ ~•




For Payments by Wire please remit to:

CITIBANK, N.A.                    ABA# 021000089
666 Fiffh Avenue                  Acci.# 4983570762
New York, NY 10703                Account Name: Rosenberg 8 Estis, P.C.
                                  For International wires add:
                                  Swill code: CITIUS33

Please include Bili/File # on your remittance



                                                        PAGE2
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 3 of 46



                                                                        733 Third Avenue
                                                                        New York, New Yark 101317
      ■-                                                                212.867.6000
                                                                        Fax 212.551.8484
                                                                        www.rose n bergestie.com

                                                                         Fed ID# 1 3-2861 71 4


                                                                         December 31, 2015
AMY GOULD                                                                 Bill Number 220080
MILFORD MANAGEMENT                                                        File Number 55673.0424
335 MADISON AVE
SUITE 1500
NEW YORK, NY 10017




FOR PROFESSIONAL SERVICES

Through    December 31, 2015

RE:    MARINER'S COVE SITE B ASSOCIATES, ET AL / DEFENO
      DISTRICT COURT ACTION

LEGAL SERVICES RENDERED

 Date       Atty   Descrigtion                                              Time
12/01/15    DER    EMAILS GREER AND CLIENT                              0.30 Hrs




12/03/15   IDT     EMAILS TO S. GREEK                                   0.40 Hrs
12/07/15   DER     TC/EMAILS CLIENT                                     0.40 Hrs
12/10/15   DER     TC/EMAILSCLIENTANDSG                                 0.50 Hrs




12/22/15    DER    TC/EMAILS CLIENT                                     0.40 Hrs
12/23/15    DER    TC/EMAILS CLIENT RE RENT PAYMENT; LTR TO SG          0.60 Hrs


                                                                   TOTAL HOURS                 15.90
                                                 TOTAL LEGAL SERVICES RENDERED             $5,358.00

DISBURSEMENTS

WORD PROCESSING                                                                  1 15.00

RESEARCH -OTHER                                                                  787.65

                                                PAGE 1
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 4 of 46



                                        ~~u~~,P ~'-+.                           New York, New York 1t1d17
ATTORN EVS AT LAW                                                               212.867.600
                                                                                Fax 212.551.8484
                                                                                www.roaenbergestis.com

RE:   MARINER'S COVE SITE B ASSOCIATES, ET AL /DEFEND DISTRICT COURT             Biil Number 220080
                                                                                File Number 55673.0424

PHOTOCOPY                                                                                 2.00

POSTAGE/SPECIAL MAIL                                                                      1.84

                                                                   TOTAL DISBURSEMENTS           $906.49

                                                                TOTAL DUE CURRENT Blll              $0.00




For Payments by Wire please remit to:

CITIBANK, N.A.                    ABA# 027000089
666 FiRh Avenue                   Acct.# 4983510762
New York, NY 70103                Accouni Name: Rosenberg 8 Esiis, P.C.
                                 For International wires add:
                                 Swig code: CITIUS33

Please include Bill/File # on your remittance




                                                       PAGE2
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 5 of 46



                                   &~~~~,P.C.                            New York New Yark 10017
 ATTORNEYS AT LAW                                                        212.967.6000
                                                                         Fax 212.551.8484
                                                                         www.roaenbergestis.com

                                                                         Fed ID# 1 3-2861 71 4


                                                                         February 29, 2016
AMY GOULD                                                                 Bill Number 226985
MILFORD MANAGEMENT                                                        File Number 55673.Oa24
335 MADISON AVE
SUITE 1500
NEW YORK, NY 10017




FOR PROFESSIONAL SERVICES

Through     February 29, 2016

RE:    MARINER'S COVE SITE B ASSOCIATES, ET AL /DEFEND
      DISTRICT COURT ACTION

LEGAL SERVICES RENDERED

  Date       Atty    Description                                             Time
02/02/16     IDT     REVIEW JUDGE MILIN'S DECISIONS; PREPARATION OF      1.50 Hrs
                     NOTICE OF ENTRY PREPARATION OF STATUS EMAIL;
                     REVIEW GREERTWO FILINGS IN THE FEDERAL CASE

02/05/16    IDT      REVIEW GREEK MOTION TO REARGUE                      0.20   Hrs
02/05/16    JRK      CONE W/ IT RE OSC                                   0.10   Hrs
02/08/16    DN       EMAIL IT/JRK                                        0.10   Hrs
02/08/16    IDT      PREPARATION FOR GREEK COURT APPEARANCE              0.90   Hrs
02/09/16    DER      CONF IT; PREP OPP TO MTN TO REARGUE                 1.40   Hrs
02/09/16    DCH      TC TO CIVIL COURT CLERK RE: MOTION ON FOR 2/10/16   0.20   Hrs
02/09/16    IDT      PREPARATION OF RESPONSE TO GREEK'S MOTION FOR       4.70   Hrs
                     REARGUMENT
02/10/16     DER     GREEK - ATTENO COURT- REARGUMENT; TC/EMAIL          3.60 Hrs
                     CLIENT; CONF IT
02/10/16    IDT      PREPARATION OF AFFIRMATION IN OPPOSITION TO         1.20 Hrs
                     GREEK'S MOTION TO REARGUE
02/11 /16   CFJ      ATTENDANCE CIVIL COURT -FILE NOTICE OF ENTRY        0.60 Hrs
02/11/16    DN       CONF IT; PREP WARRANT DOCS; EMAIL/TC MARSHAL:       0.70 Hrs
                     FINALIZE WARRANT DOCS AND EMAIL TO MARSHAL;
                     EMAIL DR/IT
02/11/16    IDT      PREPARATION OF NOTICES OF ENTRY                     0.10 Hrs



02/17/16    DER      MEETING WITH CLIENT                                 0.40 Hrs


                                                PAGE1
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                                                                             733 Third Avenue
                                                                             New York, New Yark 10017
      ■-                                                                     212.867.6000
                                                                             Fax 212.551.8484
                                                                             www.rosenbergestis.com

RE:   MARINER'S COVE SITE B ASSOCIATES, ET AL /DEFEND DISTRICT COURT          Bill Number 226985
                                                                             File Number 55673.0424

LEGAL SERVICES RENDERED




02/18/16    DN       EMAIL MARSHAL; EMAILS DR/IT                             020 Hrs
02/23/16    IDT      REVIEW APPELLATE MOTION FILED BY GREEK; CALENDAR        0.40 Hrs
                     DATES
02/25/16    DER      REV GREEK SUBMISSIONS                                   0.20 Hrs
02/25/16    DN       GOOD WARRANT; EMAII.S DR/IT                             0.10 Hrs

02/29/16    IDT      PREPARATION OF APPELLATE TERM MOTION IN                 2.00 Hrs
                     OPPOSITION TO STAY

                                                                     TOTAL NOURS                    23.90
                                                   TOTAL LEGAL SERVICES RENDERED                $8,668.00

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RESEARCH -OTHER                                                                         47.82
PHOTOCOPY                                                                                6.75
MESSENGER                                                                             35.00
TRAVEL &TRANSPORTATION                                                                  47.52

                                                               TOTAL DISBURSEMENTS              $137.09

                                                             TOTAL DUE CURRENT BILL                $0.00




                                                   PAGE2
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 7 of 46



                                                                          733 Third Avenue
                                                                          New York, New Yark 1 O01 J
                                                                          212.887.6
                                                                          Fax 212.551.8484
                                                                          www.roaenbergestis.com

RE:   MARINER'S COVE SITE 8 ASSOCIATES, ET Al /DEFEND DISTRICT COURT       Bili Number 226985
                                                                          File Number 55673.0424



For Payments by Wire please remit to:

CITIBANK, N.A.                    ABA# 021000089
666 FiRh Avenue                   Acct.# 4983510762
New York, NY 10103                Account Name: Rosenberg 8 Estis, P.C.
                                  For International wires add:
                                  Swill code: CITIU533

Please include Bill/Elie # on your remittance.




                                                        PAGE3
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 8 of 46




                                  ~~~+~ ~> p C.                         New Vork, New York 1 D017
 ATTORNEYS AT LAW                                                       212.867.6000
                                                                        Fax 212.551.8484
                                                                        wwrw.roaenbergestis.com

                                                                        Fed ID# XX-XXXXXXX


                                                                        March 31, 2016
AMY GOULD                                                                Bill Number 230994
MILFORD MANAGEMENT                                                       File Number 55673.0424
335 MADISON AVE
SUITE 1500
NEW YORK, NY 10017



FOR PROFESSIONAL SERVICES

Through    March 31, 2016

RE:    MARINER'S COVE SITE B ASSOCIATES, ET AL /DEFEND
      DISTRICT COURT ACTION



  Date     Atty    Description                                             Time
03/02/16   DER     CONF IT; PREP OPP TO MTN FOR STAY                   1.50 Hrs
03/02/16   IDT     PREPARATION OF MOTION IN OPPOSITION TO              2.50 Hrs
                   APPELLATE TERM MOTION FOR STAY
03/03/16   DER     PREP OPP TO MTN FOR STAY                             2.10 Hrs
03/03/16   IDT     PREPARATION OF MOTION IN OPPOSITION OF              12.50 Hrs
                   APPELLATE TERM STAY
03/04/16   CFJ     ATTENDANCE SUPREME COURT -FILE AFFIRMATION IN       0.40 Hrs
                   OPPOSITION
03/04/16   DER     PREP OPP TO MTN FOR STAY PENDING APPEAL             1.30 Hrs
03/04/16   IDT     PREPARATION OF AFFIRMATION IN OPPOSITION OF         2.60 Hrs
                   APPELLATE TERM STAY MOTION
03/16/16   DN      TC IT RE NOTICE OF EVICTION; EMAIL MARSHAL RE       0.30 Hrs
                   SAME; TC/EMAIIS IT RE EVICTION; EMAILS MARSHAL RE
                   SAME; EMAILS IT/DR RE EVICTION SCHED 4/5;
                   CALENDAR


03/22/16   DER     REVIEW MTN FOR STAY; CONF IT; PREP FOR AD            1.00 Hrs
                   APPEARANCE


03/23/16   DER     CONF IT; PREP FOR AD APPERANCE; ATTEND COURT;       3.00 Hrs
                   EMAILS/TCS CLIENT




                                               PAGE1
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 9 of 46



                                                                          733 Third Avenue
                                     &ESTIS,Pc.                           New York, New Yark 10d1~
 ATT~RN EYS AT LAW                                                        212.867.6000
                                                                          Fax 212.551.8484
                                                                          www.rosenbergestis.cam

RE:    MARINER'$ COVE SITE B ASSOCIATES, ET AL /DEFEND DISTRICT COURT     Bill Number 230994
                                                                         File Number 55673.0424

LEGAL SERVICES RENDERED




03/29/16    DER     CONF IP; PREP OPP TO AD MTN FOR STAY PENDING          4.00 Hrs
                    APPEAL - RSCH JURISDICTIONAL ISSUES;CONF iT;




03/29/16    IP      CONF W DR AND IT RE CASE AND ASSIGNMENT;             6.80 Hrs
                    RESEARCH AD iST CT RULES; RESEARCH ANALOG
                    CASES; RESEARCH APPEALABLE ORDERS; RESEARCH




03/30/16    OER     CONF IP -JURISDICTIONAL ISSUES; PREP OPP TO AD MTN   3.30 Hrs
                    FOR STAY; CONF IT
03/30/16    DN      F/UP EMAIL MARSHAL RE NOTICE OF EVICTION; TCS        0.50 Hrs
                    MARSHAL RE SAME; TC CONF MARSHAL/DR RE SAME;
                    EVICTION RESCHED 4/8; CALENDAR
03/30/16    ERC     COMMS/DR/IT; RESEARCH;                               0.60 Hrs
03/30/16    IP      CONF W DEVORAH H RE APPEALS TREATISE; CONE W DR      1.70 Hrs
                    RE APP DIV JURISD; DRAFT INSERT RE JURISD
03/30/16    IDT     PREPARATION OF FIRST DEPARTMENT MOTION PAPERS IN     12.40 Hrs
                    OPPOSITION OF TENANT'S REQUEST FOR STAY
03/31 /16   CFJ     ATTENDANCE GOVT AGENCY -FILE AFFIRMATION IN          0.60 Hrs
                    OPPOSITION


03/31/16    IDT     PREPARATION OF FIRST DEPARTMENT MOTION;              4.00 Hrs

                                                    PAGE2
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 10 of 46



                                                                                 733 Third Avenue
  \~                ~                 ~.                                         New York, New Yark 10017
   ■-                                                                            212.867.80
                                                                                 Fax 212.551.8484
                                                                                 www.rosenbergestis.com

RE:    MARINER'S COVE SITE B ASSOCIATES, ET AL /DEFEND DISTRICT COURT             Bill Number 230994
                                                                                 File Number 55673.0424

LEGAL SERVICES RENDERED

 Date       Atty    Description                                                       Time
                    PREPARATION OF FIRST DEPARTMENT MOTION;
                    PREPARATION OF LETTER TO FIRST DEPARTMENT
03/31/16    RAD     SPECIAL RUN DOCUMENT DELIVERY MANHATTAN                      f~iZi7R~
                    SUPREME AD;

                                                                      TOTAL HOURS                       103.10
                                                    TOTAL LEGAL SERVICES RENDERED                   $35,477.00

DISBURSEMENTS

PROCESS SVC / OUT OF OFFICE                                                                 15.00
WORD PROCESSING                                                                             50.60
RESEARCH -OTHER                                                                              2.88
PHOTOCOPY                                                                                  284.00
TRAVEL &TRANSPORTATION                                                                      13.56
POSTAGE/SPECIAL MAIL                                                                         1.84

                                                                TOTAL DISBURSEMENTS                  $367.88

                                                              I[i7L~~i111~i1~Lai~►1i][~1
                                                                7                                       $0.00




                                                    PAGE3
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 11 of 46



                                                                          733 Third Avenue
                                        s~ESTI5,Pc.                       New York, New York 10017
ATTORNEYS AT lAW                                                          212.867.BOOR
                                                                          Fax 212.551.8484
                                                                          www.roeen bergestis.com

RE:    MARINER'S COVE SITE B ASSOCIATES, ET Al /DEFEND DISTRICT COURT      Bill Number   230994
                                                                          File Number 55673.0424



For Payments by Wire please remit to:

CITIBANK, N.A.                    ABA# 021000089
666 Fiffh Avenue                  Acct.# 4983510762
New York, NY 10703                Account Name: Rosenberg 8 Estis, P.C.
                                  For International wires add:
                                  Swill code: CITIUS33

Please include Bill/File # on your remittance.




                                                        PAGE4
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                                 The Abramson Law Group,PLLC
                                              570 Lexington Avenue
                                                    23rd Floor
                                              New York, NY 10022.
                                            Telephone(212)686-4401
                                               Fax (212)686-6515

June 09, 2014                                                                           Invoice #61545



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.
                 (1)4D63-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                        Hrs/Rate         Amount
  5/1!2014 JB      Preparation of petition; e-mail to client re new date.                  0.70          221.50
                                                                                         325.00/hr
  5/5/201a JB      Correspondence to clients re service of petition.                       x.10           32.50
                                                                                         325.00/hr
  516!2014 JB      Correspondence to clients re e-mail from tenant.                        0.10           32.50
                                                                                         325.00/hr




 5/12/2014 JB      E-mails to clients re documents needed for trial re 5/14 court          0.40          130.00
                   appearance.                                                           325.00/hr

 5/13/2014 JB      Attendance at HPD to get MDR.                                           0.70          227.50
                                                                                         325.00/hr
            JB     Telephone conference between Jeffrey Bodoff, Esq. and D. Rankin re      020            65.00
                   5/14 court appearance.                                                325.00lhr




            JB     Attendance ai court; adjourned to 6 25.                                 220           715.00
                                                     -'~''                               325.00/hr

            JB     E-mails to clients re what occurred in court.                           0.20           65.00
                                                                                         325.00/hr
     Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 13 of 46




 Milford Properties                                                                                             Page      2

                                                                                                  Hrs/Rate         Amount

  5/14/2014 JB        Research on retaliatery eviction.                                               0.50          162.50
                                                                                                    325.00/hr




  5!30/2014 JB        Cail with tenant; e-mail to tenant.                                             0.30             97.50
                                                                                                    325.00lhr

             For professional services renderedn.10                                                              ~1,982.5D

             Additional Charges

  5/13/204 JB         Metro Attorney Service Inc. -service fee Manhattan, preparation of certified mailing,         232.02
                      file affidavits after service.

  5/29/2014 JB        Westlaw charges for months of April and May 2014.                                             179.04

  5;30/2014 JB        Payable for dispossess.                                                                       125.00

             JB       Postage                                                                                          3.55

             Total costs                                                                                          5539.61


             Total amount of this bill                                                                           $2,522.11

             Previous balance                                                                                     X785.31


             Balance due                                                                                         X3,307.42



For Professional services .or the month of May 2014. Please make all checks payable to: The Abramson Law Group,
PLLC.




 Irnoice#61545               **Please include The Invoice Numbers)on Ail Payments
                                 Please Tear off and Remit with Payment. Thank You!
   Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 14 of 46




                                 The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                  23rd Floor
                                             New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

July 03, 2014                                                                          Invoice #61664



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.
                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                       Hrs/Rate         Amount

  6/2/2014 JB      E-mail to tenant re ansJ✓er.                                            0.10          32.50
                                                                                         325.00/hr

            JB     E-mail tenants answer to clients.                                       0.20          65.00
                                                                                         325.00/hr

            DSA Review e-mails, e-mail, research.                                          1.00         395.00
                                                                                         395.00/hr

  6/3/2014 JB      Review tenants answer to petition.                                      0.50         162.50
                                                                                         325.00/hr

 6/12/2014 JB      Telephone conference between Jeffrey Bodoff, Esq. and S. Rossi re       0.40         130.00




 6115!2014 JB      Preparation of motion to strike affirmative defenses.                  2.60          845.00
                                                                                        325.00/hr

 6/16/2014 JB      Telephone conference between Jeffrey Bodoff, Esq, and client re        0.10           32.50
                   ownership documents.                                                 325.00/hr

 6/17/2014 JB      E-mails to tenant and to client re holdover proceeding.                0.40          130.00
                                                                                        325.00/hr
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 15 of 46




 Milford Properties                                                                                     Page      2

                                                                                          Hrs/Rate         Amount
  6/20!2014 JB        E-mail to tenant re his papers.                                         0.20             65.00




  6/23/2014 JB        Correspondence to clients re 6/25 court date.                           0.10             32.50
                                                                                            325.00/hr
             JB       Correspondence to clients with copy of tenants answer.                  0.10             32.50
                                                                                            325.00/hr
             JB       Correspondence to Greer re late response.                               0.10             32.50
                                                                                            325.00lhr

  6/24/2014 JB        Correspondence to tenant re 6/25 court date.                            0.20             65.00
                                                                                            325.00/hr
  6/25/2014 JB        Attendance at court; adjourned to 8/7 for motion.                       1.70          552.50
                                                                                            325.00/hr




             For professional services rendered                                              10.40       $3,450.00
             Additional Charges
  6/23/2014 JB        Postage                                                                                   3.40

             Total costs                                                                                       $3.40

             Total amount of this bill                                                                   $3,453.40
             Previous balance                                                                            $3,307.42
 6/20/2014 Payment -thank you. Check No. 12692                                                           ($785.31)
             Total payments and adjustments                                                              ($785.31)

             Balance due                                                                                 $5,975.51



For Professional services for the month of June 2014. Please make all checks payable to: The Abramson Law Group,
PLLC.




 Invoice #61664              **Please Include The Invoice Numbers)on All Pavments
                                 Please Tear off and Remit with Payment Thank Youl
  Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 16 of 46




                                 The Abramson Law Group,PLLC
                                              570 Lexington Avenue
                                                    23rd Floor
                                              New York, NY 10022.
                                            Telephone(212)686-4401
                                               Fax (212)686-6515

August 04, 2014                                                                             Invoice #61765



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.
                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                            Hrs/Rate         Amount
  7/1/2014 JB      E-mails to clients; review online documents; prepare notice to strike.      2.80          910.00
                                                                                             325.00/hr
  7/3/2014 JB      E-mails to client re memo of law in support.                                0.20           65.00
                                                                                             325.00/hr
            JB     Preparation of affidavit of motion; memo of law in support of motion.       8.70      2,827.50
                                                                                             325.00lhr
  7/4/2014 JB      Preparation of memo of law in support of motion.                            7.40      2,405.00
                                                                                             325.00/hr



  7/9!2014 JB      E-mail to S. Rossi re affidavit from security guard.                        0.10           32.50
                                                                                             325.00/hr




           JB      Preparation of H. Healty affidavit.                                         0.40          130.00
                                                                                             325.00/hr
   Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 17 of 46




Milford Properties                                                                                      Page      2

                                                                                           Hrs/Rate        Amount

 7/10!2014 JB        Preparation of memo of law and a~davit of S. Rossi in support of         2.50          912.50
                     summaryjudgment motion.                                                325.00/hr




 7/13/2014 JB        Preparation of memo of law in support of motion;e-mail to client         4.40        1,430.00
                                                                                            325.00/hr

 7114/2014 JB        Preparation of affidavits and memo in support of motion; call and        ~.ao        2,535.00
                     e-mails with S. Rossi and C. Spagnoli.                                 325.00/hr

 7/15/2014 JB        E-mails and calls with clients; prepare motion papers; prepare for       5.40        1,755.00
                     service.                                                               325.00/hr
 7/16/2014 JB        Finalize papers; call with Amy Gould and S. Rossi; e-mail papers to      4.00        1,300.00
                     tenant for service.                                                    325.00/hr
 7/17!2014 JB        E-mails to tenants re service of papers.                                 0.40          130.00
                                                                                            325.00fhr
 7/18/2014 JB        E-mails to tenant re papers.                                             020              65.00
                                                                                            325.00/hr
 7/21/2014 JB        Call with HPD; letter to HPD re 421A records.                            0.40          130.00




            JB       Correspondence to clients re 8/7 court date.                             0.10             32.50
                                                                                            325.00/hr

7/30/2014 JB         Preparation of affidavits of service for holdover motion.                0.20             65.D0
                                                                                            325.00/hr

7/31/2014 JB         Preparation of affidavit in opposition to tenants cross-motion.          3.00         975.00
                                                                                            325.00/hr

            For professional services rendered                                               61.80      $20,085.00
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 18 of 46




 Milford Properties                                                                                   Page     3

              Additional Charges

                                                                                                          Amount
  7/30/2014 JB        Westiaw charges for months of June and July 2014.                                    758.71

             Total costs                                                                                  $758.71


             Total amount of this bill                                                                 $20,843.71
             Previous balance                                                                           $5,975.51

 7/23/2014 Payment -thank you. Check No. 12751                                                         ($2.522.11)

             Total payments and adjustments                                                            ($2,522.11)


             Balance due                                                                               $24,297.11



For Professional services for the month of July 2014. Please make all checks payable to: The Abramson Law Group,
PILC.




Invoice #61765             **Please Include The Invoice Numbers) on All Payments
                               Please Tear off and Remit with Payment. Thank You!
  Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 19 of 46




                                 The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                  23rd Floor
                                             New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

September 08, 2014                                                                      Invoice X161856



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference 70:4063-540M.D.
                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services
                                                                                        HrslRate          Amount
  8/1/2014 JB      Correspondence to tenant re holdover motion.                             0.10           32.50
                                                                                          325.00/hr
            JB     Response to tenant.                                                      0.10           32.50
                                                                                          325.00/hr
  8/3!2014 JB      E-mail to tenant re reply papers.                                        0.10           32.50
                                                                                          325.00/hr

  8/6/2014 JB      Preparatlon of reply to Petitioner's motion in holdover.                 5.70      1,852.50




            JB     Correspondence to clients re 8/7 court appearance.                       0.10           32.50




            JB     Telephone conference between Jeffrey Bodoff, Esq. and Lisa Masulio       0.20           65.00
                   re violations.                                                         325.00/hr
            JB     E-mail to clients re court appearance.                                  0.10            32.50
                                                                                         325.00/hr
            ASG Attendance at court; conference with clerk and Judge.                      1.50           412.50
                                                                                         275.00/hr
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 20 of 46




 Milford Properties                                                                                             Page      2

                                                                                                   Hrs/Rate        Amount
    8/7/2014 ASG Research re 421 a benefits.                                                          0.40          110.00
                                                                                                    275.00/hr

   8/8/2014 JB        Correspondence to Debbie Riegel re status.                                      0.10             32.50
                                                                                                    325.00/hr

             JB       Preparatlon of reply papers to holdover motion.                                 3.30        1,072.50
                                                                                                    325.00lhr
  8/10/2014 JB        Preparation of reply papers for holdover motion.                                1.40          455.00
                                                                                                    325.00/hr

  8/11/2014 JB        Telephone conference between Jeffrey Bodoff, Esq. and HPD re FOIL               020              65.00
                      request.                                                                      325.00/hr

  8112/2014 JB        E-mails to clients and to HPD.                                                  0.30             97.50
                                                                                                    325.OD/hr
  8/15/2014 JB        Telephone conference between Jeffrey Bodoff, Esq. and D. Riegel re              0.40          130.00
                      421-a status.                                                                 325.00/hr
  8/18/2014 JB        Correspondence to D. Riegel and Blaine.                                         0.10             32.50
                                                                                                    325.00/hr
  8/20/2014 JB        Preparation of affidavit in opposition to motion.                               7.00        2,275.00
                                                                                                    325.00/hr

  8/21/2014 JB        Preparation of a~davit in further support of motion.                            1.30         422.50
                                                                                                    325.00/hr
  8/25/2014 JB        Preparation of affidavit in further support of motion and in opposition to      1.30         422.50
                      cross motion.                                                                 325.00/hr

             For professional services rendered                                                      26.60       $8,550.00
             Previous balance                                                                                   $24,297.11

  8/1/2014 Payment -thank you. Check No. 12779                                                                 ($3,453.40)
 8/28/2014 Payment-thank you. Check No. 12816                                                                 ($20,843.71)

             Total payments and adjustments                                                                   ($24,297.11)


             Balance due                                                                                        $8,550.00



For Professional services for the month of August 2014. Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice #61856              **Please include The Invoice Numbers)on All Payments
                                 Please Tear off and Remit with Payment. Thank Yout
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 21 of 46




                                 The Abramson Law Group,Pl.LC
                                             570 Lexington Avenue
                                                  23rd Floor
                                             New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

October 20, 2014                                                                      Invoice #62029



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.
                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services
                                                                                      Hrs/Rate         Amount

 9/17!2014 JB      Preparation for oral argument on 9/18; e-mail to client.               2.50         812.50
                                                                                        325.00/hr

            JB     Corcespondence to Greer in re paying Use and occupancy.                0.20          65.00
                                                                                        325.00/hr

 9/21/2014 JB      E-mails to clients re repairs in apartment.                            0.20          65.00
                                                                                        325.00/hr

 9/27/2014 JB      Numerous e-mails to tenant re his purported order to show cause.       0.60         195.00
                                                                                        325.00/hr
            DSA Review e-mails, e-mail to Jeffrey Bodoff, Esq., research.                 0.50         197.50
                                                                                        395.00/hr

 9/28!2014 JB      E-mails to tenant re pending proceeding.                              0.30           97.50
                                                                                       325.001hr

            DSA Research, telephone call with Howard Wintner, Esq., e-mail Jeffrey       1.20          474.00
                Bodoff, Esq., review motion.                                           395.00/hr

 9/29/2014 JB      Multiple e-mails with tenant re his purported discovery demands.      0.40          130.00
                                                                                       325.00/hr

            For professional services rendered                                            5.90      $2,036.50

            Previous balance                                                                        $8,550.00
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 22 of 46




Milford Properties                                                                                   Page

                                                                                                         Amount

             Balance due                                                                             $10,586.50



For Professional services for the month of September 2014. Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice #62029            **Please Include The Invoice Numbers)on Ali Payments
                             Please Tear off and Remit with Payment. Thank Yout
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 23 of 46




                                 The Abramson Law Group,PLLC
                                              570 Lexington Avenue
                                                   23rd Floor
                                              New York, NY 10022.
                                            Telephone(212)686-4401
                                                  Fax (272)688-6515

November 04, 2014                                                                       Invoice #&2045



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.

                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                        Hrs/Rate         Amount

 10/7/2014 JB      Telephone conference between Jeffrey Bodoff, Esq. and A. Beckman         0.20          65.00
                   re status and strategy.                                                325.00/hr

 10/2/2014 JB      E-mails to A. Berkman; call with A. Berkman re status.                  0.30           97.50
                                                                                         325.00/hr

 10/7/2014 JB      Telephone conference between Jeffrey Bodoff, Esq. and D. Rankin re      0.20           65.00
                   complaints from Greer's neighbor.                                     325.00/hr

 10/9/2014 JB      E-mail to client re neighboring tenant.                                 0.10           32.50
                                                                                         325.00/hr

10/11/2014 JB      E-mail to clients re status.                                            0.20           65.00
                                                                                         325.00/hr

10/13/2014 JB      E-mails to clients re status and strategy.                              0.20           65.00
                                                                                         325.00/hr

            JB     Preparation of response to notice to admit.                             0.30           97.50
                                                                                         325.00/hr




            ASG Research re potential contempt motion; research re judgment of             1.40          385.00
                possession w hen tenant famed to pay court ordered Use and               275.00lhr
                occupancy.

            JB     Correspondence to Adam S. Goodman, Esq. re remedy for failure to        0.20           65.00
                   pay Use and occupancy.                                                325.D0/hr
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 24 of 46




 Mifford Properties                                                                                       Page      2

                                                                                             Hrs/Rate        Amount
 10/19/2014 DSA Review e-mail, e-mails, research.                                               0.60         237.00
                                                                                              395.00/hr
 10/20/2014 JB        Research on contempt issue.                                               0.20             65.00
                                                                                              325.00/hr
 10/21/2014 JB        Client conference between Jeffrey Bodoff, Esq. and Adina Glass, Esq.      0.40          130.00
                      re court files.                                                         325.00/hr

 10!22/2014 JB        Preparation of response to notice to admit; in office conference          1.80         585.00
                      between Jeffrey Bodoff, Esq. and Adina Glass, Esq. re court order to    325.00/hr
                      pay Use and occupancy; e-mail to A. Berkman.

 10/23/2014 JB        Calls with Department of Finance re FOIL request.                         0.40          130.00
                                                                                              325.00/hr

 10!24/2014 JB        E-mails to tenant in re response to notice to ad.                         0.20             65.00
                                                                                              325.00/hr

 10/31/2014 JB        Preparation of motion for wntempt and for final judgment of               3.00         975.00
                      possession.                                                             325.00/hr

             For professional services rendered                                                 9.90       $3,179.50

             Previous balance                                                                             $10,586.50

 10/3/2014 Payment -thank you. Check No. 12871                                                            ($8,550.00)

             Total payments and adjustments                                                               ($8,550.00)


             Balance due                                                                                   $5,216.00



For Professional services for the month of October 2014. Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice #62045              **Please Include The Invoice Numbers)on All Payments
                                 Please Tear off and Remit with Payment. Thank You!
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 25 of 46




                                 The Abramson Law Group,PLLC
                                              570 Lexington Avenue
                                                    23rd Floor
                                              New York, NY 10022.
                                            Telephone(212)686-4401
                                               Fax (212)686-6515

December 05, 2014                                                                        Invoice #62~ 32



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.

                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                        Hrs/Rate           Amount




            JB     Correspondence to client re rent history.                               0.10             32.50
                                                                                         325.00/hr




 11/4/2014 JB      Preparation of affidavit of S. Rossi; e-mail to client.                 0.40            130.00
                                                                                         325.00/hr
 11/5/2014 JB      Preparation of motion for judgment of possession; affidavit in non      3.80        1,235.00
                   payment proceeding; affidavit in holdover proceeding; prepare for     325.00/hr
                   service; service upon respondent.

11/12/2014 JB      Correspondence to tenant re 11/13 9:30 am notice.                       0.10             32.50
                                                                                         325.00/hr

            JB     Preparation of motion for filing.                                       0.30             97.50
                                                                                         325.00/hr
            JB     Review motion papers; prepare for 11113 oral argument.                  2.30            747.50
                                                                                         325.00/hr

11/13/2014 JB      Attendance at court.                                                    0.80    NO CHARGE
                                                                                         325.00/hr

            JB     Correspondence to clients re 11/13 a.m. court appearance.               0.10             32.50
                                                                                         325.00/hr
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 26 of 46




 Milford Properties                                                                                  Page       2

                                                                                       Hrs/Rate          Amount
 11/13/2014 JB        Attendance at court in afternoon; motion submitted.                  3.80        1,235.00
                                                                                         325.00/hr
             JB       E-mail to clients re status.                                         0.10             32.50
                                                                                         325.00/hr
 11/14/2014 JB        Telephone conference between Jeffrey Bodoff, Esq. and S. Rossi       0.20             65.00
                      re status.                                                         325.00/hr

             For professional services rendered                                           15.30       $4,712.50
             Previous balance                                                                         $5,216.00
11/12/2014 Payment-thank you. Check No. 12913                                                        ($2,036.50)
11/2112014 Payment-thank you. Check No. 5200                                                         rc~ ~~o ~m

             Total payments and adjustments                                                          ,yO~L I O.V V f



             Balance due                                                                              $4,712.50



For Professional services for the month of November 2014. Please make all checks payable to: The Abramson Law
Group, PLC.




 Invoice~162132              **Please Include The Invoice Numbers)on All Payments
                                 Please Tear off and Remit with Payment. Thank You!
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 27 of 46




                                  The Abramson Law Group,PLLC
                                              570 Lexington Avenue
                                                   23rd Floor
                                               New York, NY 10022.
                                            Telephone(212)686-4401
                                               Fax (212)686-6515
 January 06, 2015                                                                        Invoice i/&2216


 Invoice submitted to:
 Milford Properties
 335 Madison Avenue
 Suite 1500
 New York, NY 10017
 In Reference To:4063-540M.D.
                  (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                  35-F

             Professional Services




 12/24/2014 JB      Correspondence to HPD re FOIL request.                                   0.20            65.00
                                                                                           325.00/hr
 12/27/2014 JB      E-mail to client re alleged cockroach infestation.                       0.10            32.50
                                                                                           325.00/hr

             For professional services rendered                                              0.40          $130.00
             Previous balance                                                                          $4,712.50
12130/2014 Payment -thank you. Check No. 12977                                                         ($4,712.50)
             Total payments and adjustments                                                            ($4,712.50)

             Balance due                                                                                   $130.00



For Professional services for the month of December 2014. Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice #62216            **Please Include The Invoice Numbers)on All Payments
                                Please Tear off and Remit with Payment. Thank Yout
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 28 of 46




                                   The Abramson Law Group,PLLC
                                                570 Lexington Avenue
                                                     23rd Floor
                                                New York, NY 10022.
                                              Telephone(212)686-4401
                                                 Fax (212)686-6515

 February 01, 2015                                                                        Invoice #62309



 Invoice submitted to:
 Milford Properties
 335 Madison Avenue
 Sufte '15D0
 New York, NY 10017

 In Reference To:4063-540M.D.

                  (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                  35-F

             Professional Services

                                                                                          Hrs/Rate         Amount
    1/2/2015 JB      Review records produced by HPD.                                          0.40          130.00
                                                                                            325.00/hr




  1/13/2015 JB       E-mails to clients re status.                                            0.20            65.00
                                                                                            325.00/hr
  1/27/2015 JB       E-mail to clients re status.                                             0.20            65.00
                                                                                            325.00lhr

             For professional services rendered                                               2.10         $682.50
             Previous balance                                                                              $130.00

             Balance due                                                                                   ~s~z.5o



For Professional services for the month of January 2015 Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice #62309             **Please Include The Invoice Number(sl on All Payments
                                Please Tear off and Remit with Payment. Thank Youl
        Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 29 of 46




                                  The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                  23rd Floor
                                             New York, NY 1D022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

 March 06, 2015                                                                            Invoice #62386



 invoice submitted to:
 Milford Properties
 335 Madison Avenue
 Suite 1500
 New York, NY 10017

 In Reference To:4063-540M.D.

                  (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                  35-F

             Professional Services

                                                                                           Hrs/Rate         Amount
   2/3/2015 JB      Telephone conference between Jeffrey Bodoff, Esq. and D. Rankin re        0.10            32.50
                    status.                                                                 325.00/hr
   7J4/2015 JB      Calls with Amy Gould and e-mails to clients and D. Riegel re status.      0.40           130.00
                                                                                            325.00/hr
  2/15/2015 JB      Correspondence to clients re complaints from other tenants.               0.10            32.50
                                                                                            325.00/hr
  2/17/2015 JB      E-mail to clients re complaining tenant.                                  0.10            32.50
                                                                                            325.00/hr

             For professional services rendered                                                0.70         $227.50
             Previous balance                                                                               $812.50
 2/10/2015 Payment -thank you. Check No. 13007                                                          ($130.00)
 2/24/2015 Payment -thank you. Check No. 13053                                                          ($682.50)
             Total payments and adjusVnents                                                             ($812.50)

             Balance due                                                                                    $227.50



For Professional services for the month of February 2015 Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice #62386            **Please Include The Invoice Numbers)on All Payments
                                Please Tear off and Remit with Payment. Thank You!
     Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 30 of 46




                                 The Abramson Law Group,PLLC
                                              570 Lexington~Avenue
                                                   23rd Floor
                                               New York, NY 10022.
                                            Telephone(212)686-4401
                                               Fax (212)686-6515

April 08, 2015                                                                      Invoice #&2463


Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.

                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services
                                                                                  Hrs/Rate           Amount
 3!12/2015 JB      E-mails to clients re status.                                     0.20             65.00
                                                                                   325.00/hr
 3/16/2015 ASG Serve papers.                                                         0.50            137.50
                                                                                   275.00/hr
 3/18!2015 DSA Review e-mail, in office conference with David S. Abramson, Esq.      0.20             79.00
               and Jeffrey Bodoff, Esq.                                            395.00/hr
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 Milford Properties                                                                                  Page       2

                                                                                        Hrs/Rate            Amount

   3/26!2015 JB       E-mails to clients re tenant's cock roach complaint                  0.20              65.00
                                                                                         325.00/hr




             For professional services rendered                                            8.40        $2,412.00
             Previous balance                                                                           $227.50


             Balance due                                                                              $2,639.50



For Professional services for the month of March 2015 Please make all checks payable to: The Abramson Law
Group,PLLC.




Invoice #62463              **Please Include The Invoice Numbers)on All Payments
                               Please Tear off and Remit with Payment. Thank You!
        Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 32 of 46




                                  The Abramson Law Group,PLLC
                                               570 Lexington Avenue
                                                     23rd Floor
                                               New York, NY 10022.
                                             Telephone(212)686-4401
                                                Fax (212)686-6515

May 05, 2015                                                                  Invoice #62560



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 1D017

In Reference To:4063-540M.D.

                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                              Hrs/Rate         Amount




            JB     Preparation of notice of entry of holdover decision.           0.20          65.00
                                                                                325.00/hr




  4/9/2015 JB      E-mail to clients re 5/1 trial date.                          0.10           32.50
                                                                               325.00/hr

 4/12/2015 JB      E-mail to clients re tenants default.                         0.10           32.50
                                                                               325.00/hr

 4/13/2015 DSA Review e-mails, e-mail.                                           0.40          158.00
                                                                               395.00/hr

            JB     E-mails to clients re stretegy.                               0.30           97.50
                                                                               325.00/hr

 4/1412015 JB      E-mails to clients re inspection of apartment.                0.20           65.00
                                                                               325.00/hr
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 33 of 46




Milford Properties                                                                                        Page      2

                                                                                             HrslRate       Amount

 4/16/2015 JB        Telephone conference between Jeffrey Bodoff, Esq. and D.                   0.20             65.00
                     Peckerman and Greer re apartment.                                        325.00/hr

 4/17/2015 JB        Preparation of motion based upon failure to pay Use and occupancy ,        4.80        1,560.00
                     call with S. Rossi; e-mail to clients.                                   325.00/hr

 4/19/2015 JB        Preparation of motion for filing.                                          0.50         162.50
                                                                                              325.00/hr

 4/2012015 JB        E-mails to Gus re tenants complaints.                                      0.20             65.00
                                                                                              325.00/hr

            JB       Attendance in court to submit order to show cause.                         1.00         325.00
                                                                                              325.00/hr

 4/21/2015 JB        Confirm order to show cause; e-mails to clients re status and in re        1.00         325.00
                     repairs; prepare affidavit of service.                                   325.00/hr
 4/22!2015 JB        E-mail to clients re 5/ 1 Vial.                                            0.10             32.50
                                                                                              325.00lhr
 4/24/2015 JB        Preparation far May 1 trial.                                               5.50        1,787.50
                                                                                              325.00/hr
 4/26/2015 JB        Preparation for 511 Vial.                                                  2.60         845.00
                                                                                              325.00/hr
 4/277201 5 JB       E-mail to Steve re 4/28 meeting.                                           0.10             32.50
                                                                                              325.00fhr
            JB       Preparation for 5/1 trial.                                                 6.50        2,112.50
                                                                                              325.00ihr




                                                         ____.
 4/28/2015 JB        Attendance at meeting at Milford with S. Rossi and D. Rankin to            2.80         910.00
                     prepare for 5/1 trial.                                                   325.00ihr

            JB       Preparation for 511 trial.                                                 3.00         975.00
                                                                                              325.00/hr
 4/29/2015 JB        Preparation for 5/1 trial; e-mails to clients and L. Doyle re tenanfs      5.80        1,885.00
                     complaints and re documents for trial land sublease requests.            325.00lhr
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 34 of 46




 Milford Properties                                                                                      Page     3

                                                                                           Hrs/Rate         Amount
  4/29/2015 JB        Telephone conference between Jeffrey Bodoff, Esq. and Kiyami re          0.50          162.50
                      trial.                                                                 325.D0lhr
             JB       Calis with HPD re violation report.                                      0.40          130.00
                                                                                             325.00/hr

             ASG Attendance at HPD office, get cert~ed copy of complaint history.              3.40          935.00
                                                                                             275.00/hr

  4/30!2015 JB        Telephone conference between Jeffrey Bodoff, Esq. and Gus re             0.40          130.00
                      repairs history in 35F.                                                325.00/hr

             JB       Preparation far 5/1 trial.                                               4.80        1,560.00
                                                                                             325.00/hr

             For professional services rendered                                               49.10      $15,610.50

             Additional Charges

  4/27/2015 JB        Postage                                                                                   19.99

             Total costs                                                                                    $19.99


             Total amount of this bill                                                                   $15,630.49

             Previous balance                                                                             $2,639.50

  4/1!2015 Payment-thank you. Check No.~3106                                                               ($227.50)
 4/28/2015 Payment-thank you. Check No. 13151                                                            ($2,412.00)

             Total payments and adjustments                                                              ($2,639.50)


             Balance due                                                                                 $15,630.49



For Professional services for the month of April 2015 Please make ail checks payable to: The Abramson Law Group,
PLLC.




 Invoice #62560              **Please Include The Invoice Numbers)on Ail Payments
                                 Please Tear off and Remit with Payment. Thank You!
      Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 35 of 46




                                 The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                  23rd Floor
                                             New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

June 04, 2015                                                                               Invoice #62643



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.
                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                            Hrs/Rate         Amount

   5/1/2015 ASG Attendance at court.                                                           2.00          550.00
                                                                                             275.00/hr

            DSA In office conference between David S. Abramson, Esq. and Jeffrey               0.20           79.OD
                Bodoff, Esq.                                                                 395.00/hr

            JB     Attendance at court; adjourned to 6/26 for trial.                           3.20      1,040.00
                                                                                             325.00/hr

            JB     E-mails to client re what occurred in court.                                0.20           65.00
                                                                                             325.00/hr

  5/4/2015 JB      E-mails to clients re tenants payment; e-mails to opposing attorney re      0.60          195.00
                   no e-mails from tenant.                                                   325.00/hr

 5/12/2015 JB      Correspondence to client re rent payment.                                   0.10           32.50
                                                                                             325.00/hr

 5!14/2015 JB      E-mails to clients re tenants payment                                       0.10           32.50
                                                                                             325.00/hr

 5!19/2015 JB      Correspondence to clients wRh check from NYC.                               020            65.00
                                                                                             325.00/hr

 5/20/2015 JB      Telephone conference between Jeffrey Bodoff, Esq., Gus and Darryl           0.20           65.00
                   re latest incident.                                                       325.00/hr

 5!21/2015 J8      E-mail to tenant re 6/26 court date.                                        0.10           32.50
                                                                                             325.00/hr
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 36 of 46




 Milford Properties                                                                                    Page      2

                                                                                         Hrs/Rate         Amount

  5/26/2015 JB        E-mail to tenant rejecting document demand.                            0.10             32.50
                                                                                           325.00/hr

              For professional services rendered                                             7.00       $2,189.00

             Additional Charges

  5/27/2015 JB        Postage                                                                                 19.99

  5/29/2015 JB        Westlaw charges for months of April and May 2015.                                   780.34

              Total costs                                                                                $800.33


              Total amount of this bill                                                                 $2,989.33

              Previous balance                                                                         $15,630.49


              Balance due                                                                              $18,619.82



For Professional services for the month of May 2015 Please make all checks payable to: The Abramson Law Group,
PLIC.




 Invoice~t62643              **Please include The Invoice Numbers)on All Payments
                                 Please Tear off and Remit with Payment. Thank You!
    Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 37 of 46




                                 The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                   23rd Floor
                                             New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

July 06, 2015                                                                                 Invoice ~t62725



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

In Reference To:4063-540M.D.
                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                              Hrs/Rate          Amount
 6/11/2015 JB      Correspondence to Gus re tenants latest outburst.                              0.10           32.50
                                                                                                325.00hir
 6/17/2015 JB      E-mails to clients re tenants latest notice.                                   0.10           32.50
                                                                                                325.00/h~

 6/18/2015 JB      Preparation of affidavit in opposition to discovery motion.                   5.30       1,722.50
                                                                                               325.00/hr

 6!19/2015 JB      Preparation of affidavit in opposition to discovery motion.                   2.40           780.00
                                                                                               325.00/hr
 6!22!2015 JB      Preparation of affidav'ds of Jeffrey Bodoff, Esq. and S. Rossi in             7.70       2,502.50
                   opposition to motion for discovery; Westlaw research; e-mails to            325.00/hr
                   clients re te~anYs latest motion to amend answer; e-mail to S. Rossi
                   with his proposed a~davit.

 6/23/2015 JB      E-mails to Gus and to S. Rossi re 6/26 court appearance; meeting and          0.40           130.00
                   affidavits.                                                                 325.00/hr
            JB     Preparation of affidavit in opposition to tenants motion do amend             7.50       2,437.50
                   answer.                                                                     325.001hr
            JB     Preparation of a~davit in opposition to discovery motion.                     0.80           260.00
                                                                                               325.00/hr
 6/24/2015 JB      E-mails to S. Rossi re affidavit in re 6/26 court appearance; affidavits      5.60       1,820.00
                   in opposition to tenanPs motions to amend answer and her discoveries.       325.D0/hr
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 38 of 46




 Milford Properties                                                                                        Page      2

                                                                                              Hrs/Rate        Amount
  6/25/2015 JB        Finalize affidavits in opposition to Respondent's motions; service on      5.90        1,917.50
                      Greer, prepare for potential trial on 6/26; e-mail to clients re "A"     325.00/hr
                      violation.
  6/26/2015 JB        Attendance at court; adjourned to 8110.                                    1.80         585.00 .
                                                                                               325.00/hr
             JB       E-mail to clients re shatus.                                               0.10             32.50
                                                                                               325.00/hr
  6/29/2015 JB        Correspondence to Gus re status.                                           0.10             32.50
                                                                                               325.00/hr

             For professional services rendered                                                 37.80      $12,285.00
             Previous balance                                                                              $18,619.82
  6/8/2015 Payment -thank you. Check No. 13203                                                           ($13,317.99)
  6/8/2015 Credit as per DSA                                                                              ~c~ zap ~m

             Total payments and adjustments                                                              ~y i o,o3~.va~

             Balance due                                                                                   $15,274.33



For Professional services for the month of June 2015 Please make all checks payable to: The Abramson Law Group,
PLLC.




 invoice #62725              **Please Include The Invoice Numbers)on All Payments
                                 Please Tear off and Remft with Payment. Thank Yout
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 39 of 46




                                  The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                  23rd Floor
                                             Naw York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

August 05, 2015                                                                Invoice #62827



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500
New York, NY 10017

in Reference To:4063-540M.D.

                 (1)4063-540 Steven Greer. M.D. 200 Rector Piace, apartment
                 35-F

            Professional Services

                                                                              Hrs/Rate          Amount

 7/23/2015 JB      Correspondence to S. Rossi re status.                         0.30    NO CHARGE
                                                                               325.00/hr
 7/27/2015 JB      Correspondence to client re 7/15 payment.                     0.10            32.50
                                                                               325.00/hr
            JB     Correspondence to S. Rossi with Hahn order.                   0.20    NO CHARGE
                                                                               325.00/hr
 7/28/2015 JB      Preparation of copies of motions for D. Riegel.               0.70    NO CHARGE
                                                                               325.00/hr

 7/29/2015 JB      Calis with Amy Gould.                                         0.10    NO CHARGE
                                                                               325.00/hr

            For professional services rendered                                   1.40           $32.50

            Additional Charges

 7/30/2015 JB      Westlaw charges for months of June and July 2015.                             66.07

            Total costs                                                                         $66.07


            Total amount of this bill                                                           $98.57

            Previous balance                                                               $15,274.33

 7/8/2015 Payment -thank you. Check No. 13273                                              ($2,989.33)
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 40 of 46




 Milford Properties                                                                                  Page

                                                                                                         Amount


              Total payments and adjustments                                                          ($2,989.33)


              Balance due                                                                             $12,383.57



For Professional services for the month of July 2015 Please make all checks payable to: The Abramson Law Group,
PLLC.




 Invoice #62827             **Please Include The Invoice Numbers)on All Payments
                              Please Tear off and Remit with Payment. Thank Youl
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 41 of 46




                                 The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                   23rd Floor
                                             New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

September 04, 2015                                                                      Invoice #62922



Invoice submitted to:
Milford Properties
335 Madison Avenue
Suite 1500                                —
New York, NY 10017

In Reference To:4063-540M.D.

                 (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                 35-F

            Professional Services

                                                                                        Hrs/Rate         Amount
  8/7!2015 JB      E-mails to clients re motion; call with D. Riegel re motion.            0.60          195.00
                                                                                         325.00/hr
 8/10/2015 JB      Attendance at HPD re MDR;court appearance on motions -submitted.        3.50        1.137.50
                                                                                         325.00/hr
            JB     Telephone conference between Jeffrey Bodoff, Esq. and Amy Gould         0.40          130.00
                   re court date; call with S. Rossi re court appearance.                325.00/hr




            JB     Telephone conference between Jeffrey Bodoff, Esq, and D. Rankin re      0.20           65.00
                   status.                                                               325.00/hr

 8/25/2015 JB      Correspondence to Amy Gould re notice of complaint from Greer.          0.10           32.50
                                                                                         325.00/hr

            JB     Telephone conference between Jeffrey Bodoff, Esq. and D. Rankin re      020            65.00
                   status.                                                               325.00/hr

            For professional services rendered                                             520        $1,690.00

            Previous balance                                                                         $12,383.57

 8/3/2015 Payment -thank you. Check No. 13323                                                      ($12,285.00)

            Total payments and adjustments                                                         ($12,285.00)
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 Milford Properties                                                                                  Page

                                                                                                         Amount

             Balance due                                                                               $1,788.57



For Professional services for the month of August 2015 Please make all checks payable to: The Abramson Law
Group, PLLC.




Invoice #62922             **Please Include The Invoice Numbers)on All Payments
                             Please Tear off and Remit with Payment. Thank You!
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 43 of 46




                                  The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                   23rd Floor
                                             New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

 October 06, 2015                                                                        Invoice #63015



 Invoice submitted to:
 Milford Properties
 335 Madison Avenue
 Suite 1500
 New York, NY 10017

 In ReferenceTo:4063-540M.D.
                  (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                  35-F

             Professional Services

                                                                                       Hrs/Rate           Amount




             For professional services rendered                                            0.40             $0.00
             Previous balance                                                                         $1,788.57
  9/3/2015 Payment -thank you. Check No. 2609                                                           ($98.57)
 9/29/2015 Payment -thank you                                                                        ($1,788.57)

             Totai payments and adjustments                                                          ($1,887.14)

             Credit balance                                                                               ($98.57)



For Professional services for the month of September 2015 Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice #63015            **Please Include The Invoice Numbers)on All Payments
                                Please Tear off and Remit with Payment. Thank You!
       Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 44 of 46




                                  The Abramson Law Group,PLLC
                                              570 Lexington Avenue
                                                   23rd Floor
                                              New York, NY 10022.
                                            Telephone(212)686-4401
                                               Fax (212)686-6515

 January 08, 2016                                                                        Invoice #&3310



 Invoice submitted to:
 Milford Properties
 335 Madison Avenue
 Suite 1500
 New York, NY 10017

 In Reference To:4063-540M.D.

                   (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                   35-F

             Professional Services

                                                                                          Hrs/Rate        Amount

 12!22/2015 JB       Correspondence to clients re rejecting 1116-4/16 rent.                  0.10           32.50
                                                                                           325.00/hr

             For professional services rendered                                               0.10        $32.50

             Previous balance                                                                             ($98.57)


             Credit balance                                                                               ($66.07)



For Professional services for the month of Dec. 2015 Please make all checks payable to: The Abramson Law Group,
PLLC.




 Invoice #633'10            **Please Include The Invoice Numbers)on All Payments
                                Please Tear off and Remit with Payment. Thank You!
        Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 45 of 46




                                  The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                  23rd Floor
                                              New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212)686-6515

 March 04, 2016                                                                           Invoice #63470



 Invoice submitted to:
 MiHord Properties
 335 Madison Avenue
 Suite 1500
 New York, NY 10017

 In Reference To:4063-540M.D.

                  (1) 4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                  35•F

             Professional Services

                                                                                        Hrs/Rate           Amount

    2/1/2016 DSA Review decision.                                                                    NO CHARGE
                                                                                         395.00/hr

   2/2/2016 DSA Receipt and review e-mail.                                                 0.20             115.00
                                                                                         575.00/hr
   2/7/2016 DSA Review e-mails, review tenant's motion to reargue, in office               1.00            575.00
                conference with David S. Abramson, Esq. and Jeffrey Bodoff, Esq          575.00/hr




             For professional services rendered                                             1.40        $755.00

             Previous balance                                                                              ($66.07)


             Balance due                                                                                $688.93



For Professional services for the month of Feb. 2016 Please make all checks payable to: The Abramson Law Group,
PLLC.




 InvoiceH63470             **Please Include The Invoice Numbers)on Ail Payments
                                Please Tear off and Remit with Payment. Thank You!
        Case 1:15-cv-06119-AJN-JLC Document 251-4 Filed 02/24/17 Page 46 of 46




                                  The Abramson Law Group,PLLC
                                             570 Lexington Avenue
                                                  23rd Floor
                                              New York, NY 10022.
                                           Telephone(212)686-4401
                                              Fax (212) 666-6515

 Apri106, 2016                                                                           Invoice #63646



 Invoice submitted to:
 Milford Properties
 335 Madison Avenue
 Suite 1500
 New York, NY 10017

 In Reference To:4063-540M.D.
                  (1)4063-540 Steven Greer. M.D. 200 Rector Place, apartment
                  35•F

             Professional Services

                                                                                         Hrs/Rate         Amount
    3/3/2016 JB     Correspondence to D. Riegel re complaints from other tenant's.           0.10           49.00
                                                                                           490.00/hr
  3/14/2016 JB      Correspondence to D. Riegel re status.                                   0.10           49.00
                                                                                           490.00/hr
  3/17/2D16 JB      Telephone conference between Jeffrey Bodoff, Esq. and Amy Gould          0.10           49.00
                    re Greer's rent payment.                                               490.00/hr

             For professional services rendered                                              0.30      $147.00

             Previous balance                                                                          $688.93
 3/24/2016 Payment -thank you. Check No. 13630                                                         ($755.00)

             Total payments and adjustments                                                            ($755.00)


             Balance due                                                                                  $80.93



For Professional services for the month of March.2016 Please make all checks payable to: The Abramson Law
Group, PLLC.




 Invoice N63646            **Please Include The Invoice Numbers)on All Payments
                                Please Tear off and Remit with Payment. Thank You!
